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                    BEFORE THE UNITED STATES JUDICIAL PANEL
                         ON MULTIDISTRICT LITIGATION

 IN RE: KIA HYUNDAI VEHICLE THEFT                    MDL No. 3052
 LITIGATION
                                                     Oral Argument Requested



 FIRST-FILED PLAINTIFFS’ AND HENRY PLAINTIFFS’ JOINT BRIEF IN PARTIAL
               OPPOSITION TO THE MCNERNEY PLAINTIFFS’
              MOTION TO TRANSFER AND COORDINATION OR
              CONSOLIDATION PURSUANT TO 28 U.S.C. § 1407

       Pursuant to 28 U.S.C. § 1407 and Rule 6.2 of the Rules of Procedure of the Judicial Panel

on Multidistrict Litigation, Plaintiffs Stephanie Marvin, Katherine Wargin, Chaid Przybelski,

Chad Just, Amy Flasch, and Lydia Davis (collectively, “First-Filed Plaintiffs”) in the first-filed

related action styled Marvin et al v. Kia America, Inc. et al, Civ. No. 2:21-cv-01146-PP (E.D.

Wis.) (“First-Filed Action”), and Plaintiffs Lauren Henry, Lauren Hickman, Kathy Coke, Gerald

Smith, Devon McClellan, and Lauren Hernandez (collectively, “Henry Plaintiffs”) in the related

action styled Henry et al v. Kia America, Inc. et al, 8:22-cv-01729 (C.D. Cal.) (“Henry Action”)

respectfully submit this joint brief in partial opposition to the McNerney Plaintiffs’ Motion for

Transfer and Consolidation of Related Actions in the Central District of California Under 28

U.S.C. § 1407 (MDL No. 3052 at ECF No. 1) (“Motion to Transfer”), filed by the plaintiffs in the

related action styled McNerney v. Kia America, Inc., C.D. Cal No. 8:22-cv-01548 (the “McNerney

Action”).

       As detailed herein, the First-Filed Plaintiffs and Henry Plaintiffs agree that all related

actions should be consolidated pursuant to 28 U.S.C. § 1407, but respectfully submit that all related

actions should be transferred to the epicenter of the Kia and Hyundai vehicle theft crisis: the

Eastern District of Wisconsin, where the First-Filed Action has been pending for over a year.
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Alternatively, the First-Filed Plaintiffs and Henry Plaintiffs respectfully submit that all related

actions should be transferred to the Central District of California given the location of Kia and

Hyundai’s respective corporate headquarters.

I.     BACKGROUND

       A.      The First-Filed Action is the First-Filed Case Related to Kia and Hyundai
               Vehicle Thefts, and Has Been Actively Litigated for Nearly Thirteen Months
               Before the Next Related Action was Filed

       The class action suits that the Motion to Transfer seeks to consolidate through these MDL

proceedings involve factual allegations similar to, albeit less detailed than, those first alleged by

the First-Filed Plaintiffs in the First-Filed Action, which was filed thirteen months before any other

related actions were filed. The First-Filed Action, like the numerous recent copycat cases, alleges

that certain Kia and Hyundai manufactured vehicles suffer from a design and/or manufacturing

defect that renders them extremely susceptible to vehicle theft (the “Defect”). See Motion to

Transfer, Ex. 16 (ECF No. 1-19) at 10-11 of 176, ¶¶ 1-5. All of the other related actions listed in

Motion to Transfer’s Schedule of Actions (ECF No. 1-2) allege substantially similar facts as the

First-Filed Plaintiffs related to the Defect. But none of the complaints in the related actions allege

nearly the level of factual detail or specificity about the multi-faceted Defect that the First-Filed

Plaintiffs allege. For instance, the fifteen of the related actions listed in the Schedule of Actions

attached to the Motion to Transfer parrot the same conclusory allegation that the Defect is simply

limited to a lack of “engine immobilizers.”1 In contrast, First-Filed Plaintiffs’ allegations of the



1
  See Motion to Transfer Ex. 1 at 7, ¶31 (“The vehicles are defective in that, among other things,
Defendants manufactured and designed them without engine immobilizers”); Ex. 3 at 6, ¶33
(same); Ex. 4 at 7, ¶35 (same); Ex. 5 at 7, ¶38 (same); Ex. 6 at 11, ¶31 (same); Ex. 7 at 7, ¶26
(same); Ex. 8 at 6, ¶31 (same); Ex. 9 at 6, ¶22 (same); Ex. 11 at 6, ¶31 (same); Ex. 12 at 5, ¶31;
Ex. 13 at 10, ¶27 (same); Ex. 14 at 7, ¶35 (same); Ex. 15 at 12, ¶33 (same); Ex. 2 at 1, ¶1 (“the
Class Vehicles are not equipped with an “immobilizer”); and Ex. 10 at 1, ¶2 (“The Class Vehicles,
though, suffer from a design defect in that they do not contain an ignition immobilizer”).

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Defect are so detailed that the complaint had to be filed under seal to avoid providing car thieves

a playbook on how to utilize the multifaceted Defect in order to steal Hyundai and Kia vehicles.

       The First-Filed Action, Marvin et al v. Kia America, Inc. et al, Civ. No. 2:21-cv-01146-PP

(E.D. Wis.), is the first class action filed related to the Defect and Kia and Hyundai vehicle theft.

The First-Filed Action was filed in Wisconsin state court nearly fifteen months ago, on June 23,

2021, naming as defendants Kia America, Inc., Hyundai Motor America, and Hyundai Kia

America Technical Center, Inc. See Exhibit A (redacted complaint filed in Wisconsin Circuit

Court, Milwaukee County, on June 23, 2021). Because the complaint in the First-Filed Action

contained detailed factual allegations about the nature of the Defect and how criminals were

exploiting it commit unprecedented numbers of Kia and Hyundai vehicle thefts, the complaint was

filed under seal to prevent further increases in the number of vehicle thefts by using the complaint

as a handbook:

       The pleading standard governing certain claims in the Complaint requires plaintiffs
       to plead the precise nature of the defect affecting the Kia and Hyundai vehicles,
       which has made them a prime target for auto thefts. Given the “epidemic” this has
       created in the Milwaukee metro area, as the Milwaukee Police Department
       explained, we did not want to exacerbate the problem by filing a publicly available
       document, which explains in exacting detail how these cars are being stolen without
       first raising this issue with the Court and other relevant parties. We are cognizant
       and greatly appreciate the importance of transparent judicial proceedings and open
       access to judicial records. To that end, we anticipate filing a redacted copy of the
       Complaint that addresses these dueling concerns, but first wished to address this
       matter with the Court and other stakeholders given the sensitives involved and
       potential impact on our [Milwaukee] community.

Exhibit B at 3 (State of Wisconsin Circuit Court, Milwaukee County, (1) Motion to Seal or Redact

a Court Record; and (2) subsequent Order [Granting] Motion to Seal or Redact a Court Record).

       Defendants subsequently removed the First-Filed Action to the Eastern District of

Wisconsin on October 5, 2021. See Exhibit C at 4 (entry #1, Defendants’ notice of removal). The

First-Filed Plaintiffs filed an amended complaint in the Eastern District of Wisconsin on November



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4, 2021, which was also filed under seal in an effort to curtail the number of Kia and Hyundai

vehicle thefts. See id. at 3 (ECF No. 12. On December 22, 2021, both Defendants filed two separate

motions to dismiss. See id. at 4 (ECF Nos. 19, 21). On February 10, 2022, the First-Filed Plaintiffs

filed a joint motion with Defendants setting forth a briefing schedule on their motions to dismiss.

See id. at 4 (ECF No. 24). On February 28, 2022, the First-Filed Plaintiffs filed their oppositions

to Defendants’ motions to dismiss. See id. at 5 (ECF No. 30). Defendants filed a joint reply brief

in support of their separate motions to dismiss on March 25, 2022. See id. at 5 (ECF No. 32). Thus,

two motions to dismiss were filed and fully briefed in the First-Filed Action as of March 25, 2022.

On May 31, 2022, the Eastern District of Wisconsin granted the First-Filed Plaintiffs’ motion to

join four additional class representatives. See id. at 5 (ECF No. 34).

       All of the foregoing substantial litigation (and more) occurred prior to the filing of any of

the related actions filed to date. Thus, the First-Filed Action was pending and engaged in active

litigation for over a year before the first related action was filed. See Motion to Transfer, Ex. 9

(the next filed related action, Bendorf et al v. Kia et al, was filed on July 21, 2022, almost thirteen

months after the First-Filed Action Marvin complaint was filed on June 23, 2021).

       B.      Milwaukee, Located within the Eastern District of Wisconsin, is the Epicenter
               of the Kia and Hyundai Vehicle Theft Crisis in America

       Milwaukee is the epicenter of Kia and Hyundai vehicle thefts in America. In 2021 alone,

more than 10,000 vehicles were stolen in Milwaukee.2 The Milwaukee Police Department reported

that Kia and Hyundai vehicle thefts made up over 60% of Milwaukee’s car thefts in the first two




2
 See, e.g., Fox6 Milwaukee, “Milwaukee stolen vehicle crimes double, half the arrests kids 16 and
under”, Dec. 14, 2021 (accessible at: https://www.fox6now.com/news/milwaukee-stolen-vehicle-
crimes-double-half-the-arrests-kids-under-16 (last visited September 23, 2022).

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months of 2021.3 As of May 20, 2021, Milwaukee was averaging twenty–five stolen vehicles per

day4, and the Milwaukee Police Department identified the top five stolen models as Class

Vehicles.5

       Milwaukee local news outlets refer to Milwaukee’s spike in car thefts as an “epidemic”6

that has wreaked havoc on the Milwaukee community, as the adolescents that steal the vehicles

often engage in reckless driving that leads to severe car accidents that have left several people in

the Milwaukee area dead or severely injured7. Countless videos have been posted on social media

showing stolen Kia and/or Hyundai vehicles being driven recklessly on Wisconsin streets and even

drag racing on school sidewalks dangerously close to Milwaukee students and pedestrians.8 The




3
  Rebecca Klopf, “MPD: Hyundai and Kia vehicles too easy to steal, leading to spike in car thefts,”
TMJ4 WTMJ–TV MILWAUKEE, https://www.tmj4.com/news/local-news/mpd-hyundai-and-kia-
vehicles-too-easy-to-steal-leading-to-spike-in-car-thefts (last visited September 23, 2022).
4
  James E. Causey, “A thief swiped Dorothy Smith’s car from in front of her Milwaukee home.
An anonymous donor has made it right,” MILWAUKEE JOURNAL SENTINEL,
https://www.jsonline.com/story/opinion/2021/05/21/driven-by-good-will-anonymous-donor-
pays-off-milwaukee-womans-stolen-car-debt/5130896001/ (last visited September 23, 2022).
5
  Bill Miston, “MPD says car thefts up nearly 150%; Bay View crime caught on cam,” FOX6
NEWS MILWAUKEE, https://www.fox6now.com/news/milwaukee-car-thefts-bay-view-crime-
surveillance (Mar. 31, 2021) (“The top five models stolen are Hyundai Sonata, Kia Optima,
Hyundai Elantra, Kia Sportage, and Kia Forte. The majority of the Kia and Hyundai vehicles stolen
are 2011–2020 model years”) (last visited September 23, 2022); see also FOX6 News Digital
Team, “Vehicle thefts on Marquette campus increase; Hyundais and Kias targeted,” FOX6 NEWS
MILWAUKEE,         https://www.fox6now.com/news/vehicle-thefts-on-marquette-campus-increase-
hyundai-and-kia-targeted (May 4, 2021) (Marquette University police note “an increase in thefts
of Hyundai and Kia models, often Hyundai Sonatas and Elantras, and Kia Souls and Sportages”)
(last visited September 23, 2022).
6
   Hannah Jewell, “Kia, Hyundai car thefts spike in Milwaukee: ‘Epidemic’,” FOX6 NEWS
MILWAUKEE, https://www.fox6now.com/news/kia-hyundai-car-thefts-milwaukee (Apr. 30, 2021)
(last visited September 23, 2022).
7
   See “Teen driving stolen car killed in head–on crash, 5 others injured,” WISN12 ABC,
https://www.wisn.com/article/teen-car-theft-suspect-killed-in-head-on-crash-5-others-
injured/36741640 (last visited September 23, 2022).
8
   See, e.g., https://www.instagram.com/p/CTrjrdgL-Zc/?utm_medium=copy_link (last visited
September 23, 2022).

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problem is so rampant in Milwaukee, that vehicle owners in the area have created social media

pages such as the Facebook group entitled “Stolen Cars MKE” that are rife with examples of

Milwaukeeans grappling with the scourge of auto thefts caused by the Defect present in the Kia

and Hyundai vehicles.9 In June 2021, local Milwaukee television news, WISN Channel 12,

reported that the number of Kia and Hyundai vehicles stolen in Milwaukee increased 2,500% from

the same time last year.10

        This crisis has become so severe in Milwaukee that it prompted two Milwaukee officials

to write joint letters to Kia and Hyundai imploring them to “make fundamental changes to the

mechanisms used to secure [their] vehicles.”11 Those Milwaukee officials explained that in

addition to creating dangerous or even fatal conditions on Milwaukee streets (and even sidewalks),

the vehicle theft epidemic has had an enormously adverse impact on the Milwaukee community

and placed a “drain on police and other city resources that have been sadly directed to deal with a

rash of vehicle thefts and the havoc those thefts have brought to our city.”12 The epidemic in

Milwaukee was so prevalent that it eventually garnered national media attention, which caused it

to spread to other U.S. cities. Thus, related actions were filed in jurisdictions other than the Eastern

District of Wisconsin, but the facts underlying every one of those related actions were derived



9
   Accessible at: https://www.facebook.com/groups/1184876048194949/ (last visited September
23, 2022).
10
     “Thefts of Kia, Hyundai explode 2,500% in Milwaukee,” WISN12 ABC,
https://www.wisn.com/article/thefts-of-kia-hyundai-explode-2500-in-milwaukee/36756668 (last
visited September 23, 2022).
11
           See         p.        3       of          the        PDF         accessible    at:
https://city.milwaukee.gov/ImageLibrary/Groups/ccCouncil/News/2021/District-
06/COMBINED-KiaandHyundaiaskedtobuildhardertostealvehicles21.pdf (last visited September
23, 2022).
12
   Caroline Reinwald, “Council members urge Kia, Hyundai to build better anti–theft systems,”
WISN12 ABC, https://www.wisn.com/article/mke-common-council-members-urge-kia-hyundai-
to-build-better-anti-theft-systems/36745134 (last visited September 23, 2022).


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from the First-Filed Action in the Eastern District of Wisconsin and the vehicle theft crisis that

started in and emanated from Milwaukee.

II.     LEGAL STANDARD

        “When civil actions involving one or more common questions of fact are pending in

different districts, such actions may be transferred to any district for . . . the convenience of parties

and witnesses and [promotion of] just and efficient conduct of such actions.” 28 U.S.C. § 1407.

III.    ARGUMENT

        A.      The Pertinent Factors Weigh in Favor of Transfer to the Eastern District of
                Wisconsin, Where the First-Filed Action Has Been Pending for Nearly a Year

        The First-Filed Plaintiffs and Henry Plaintiffs do not oppose § III(A) of the Motion to

Transfer and agree that the related actions should be consolidated pursuant to 28 U.S.C. § 1407.

Motion to Transfer at 5-8. Thus, the instant joint brief is filed in opposition to only § III(B) of the

Motion to Transfer, which requests that all related actions be transferred to the Central District of

California. See Motion to Transfer at 8-10, § III(B). With respect to the appropriate transferee

forum, the Motion to Transfer urges that “all related actions should be transferred to the Central

District of California” given the location of Kia and Hyundai’s corporate headquarters. See id.

        In advancing this argument, however, the McNerney Plaintiffs fail to substantively address

the multitude of factors that the Panel considers when selecting the appropriate transferee forum,

including: (1) the site of the occurrence of the common facts, (2) where the cost and inconvenience

will be minimized, (3) the experience, skill, and caseloads of available judges, (4) where cases

have progressed furthest, (5) where discovery has occurred, and (6) where the largest number of

cases is pending. Manual for Complex Litigation § 20.131 (4th ed. 2016).13 On balance, these


13
  The fourth factor is irrelevant because discovery has not proceeded in any forum. As for the fifth
factor, although the Central District of California is home to the largest number of cases in a single



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factors weigh in favor of transfer and centralization in the Eastern District of Wisconsin over any

other forum.

        First, Wisconsin—and particularly the city of Milwaukee where the Eastern District of

Wisconsin is located—is the primary and most severely impacted geographic “site of the

occurrence of the common facts.” As explained in supra §I(B), Milwaukee is the epicenter of the

Kia and Hyundai vehicle theft crisis in America. This “epidemic” has wreaked havoc on

Milwaukee and municipalities throughout Wisconsin and scores of Wisconsinites have suffered

personal injury and property damage as a result of this crisis. Moreover, this problem has

proliferated beyond Wisconsin’s borders and into many neighboring states in the Midwest—

including Illinois, Ohio, Minnesota, and Missouri, to name a few—based on social media posts by

various teenagers also residing in Milwaukee and under subpoena power of the Eastern District of

Wisconsin. Accordingly, because Milwaukee has been uniquely impacted by this crisis—both in

terms of its origination and how it spawned into other states—the Eastern District of Wisconsin

has the greatest interest of any United States District Court in overseeing this litigation.

        Second, because all related actions are class actions filed throughout the country, the

Eastern District of Wisconsin is a central, geographically convenient location for the parties and

their counsel. See Multidistrict Lit. Man. § 6:7 (noting that the “location of the parties and

attorneys” is a factor the Panel considers in selecting a transferee district and that it “has expressed

its preference for selection of a centrally located transferee district”) (collecting cases); see also

id. (“The advantages of a geographically central forum increase as the number of actions

increase.”). Indeed, of the twenty-six related actions filed to date, half of them are clustered in



district, a greater number of related actions are clustered in judicial districts throughout the
Midwest and in close proximity to the Eastern District of Wisconsin where the First-Filed Plaintiffs
initiated the First-Filed Action. See n.14, infra.

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judicial districts closer to the Eastern District of Wisconsin than the Central District of California.14

Further, many of the parties’ counsel are based in the Midwest, including Peter Brennan,

Defendants’ lead counsel, who works out of Jenner and Block LLP’s Chicago office. (See MDL

No. 3052 at ECF No. 20.)

        True, Kia and Hyundai are headquartered in California, which may be a source of relevant

evidence in Defendants’ possession, but this factor is less important than the Motion to Transfer

claims. Indeed, the Panel has recognized the “diminished” importance of this factor in modern

litigation practice. See, e.g., Multidistrict Lit. Man. § 6:5 (“Location of evidence is still relevant,

but it is diminished in importance, especially as to documentary evidence.”); see also id. § 6:3

(noting that while the “location of documents and witnesses was once a very important factor in

selection of a transferee court;[,]” the “Panel [now] recognizes that discovery can be conducted

essentially anywhere and the fruits of discovery made available to all parties without needing to

travel to the district where the action is pending”). This is especially true as of late, where the

COVID-19 pandemic has prompted most depositions in federal class actions such as this one to be

conducted remotely such that there is no added convenience or reduced travel by maintaining this

action in the Central District of California.

        Regardless, even if depositions of Defendants’ employees are held in person, they would

take place in the vicinity of Defendants’ California headquarters irrespective of which transferee

forum the panel selects. Similarly, to the extent any of the relevant employees are employed by

Hyundai Motor Company or Kia Corporation (Defendants’ Korean parent companies),




14
  See, e.g., Henry Plaintiffs’ Schedule of Actions ((1) Loburgio, N.D. Ill.; (2) Brady, S.D. Iowa;
(3) Simmons, D. Kans.; (4) Day E.D. Ky.; (5) DeKam, E.D. Mich.; (6) Johnson, D. Minn.; (7)
Zanmiller, D. Minn.; (8) Bendorf, W.D. Missouri; (9) Bissell, W.D. Missouri; (10) Hall, D. Neb.;
(11) Slovak, N.D. Ohio; (12) Fruhling, S.D. Ohio; and (13) Marvin, E.D. Wisc.).

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centralization in California hardly bears on this cost and convenience factor when depositions can

be conducted remotely.

        If anything, costs will be reduced, and convenience will be promoted, by selecting the

Eastern District of Wisconsin as the transferee district. Not only is it the epicenter of this auto theft

crisis where thousands of physical pieces of evidence are located—namely, the stolen cars

themselves—but the court has subpoena power over the Milwaukee teenagers whose social media

posts spawned the Kia TikTok Challenge in the first instance. See Multidistrict Lit. Man. § 6:5

(noting that the location of “physical evidence” that is “bulky and unmovable” as well as the

“location of an important non-party may [also] be important” in selecting the appropriate transferee

district). Thus, contrary to the McNerney Plaintiffs’ contentions, the cost and convenience factor

points to Wisconsin, not California, as the appropriate transferee district.

        Third, the “caseloads of available judges” strongly weighs in favor of the Eastern District

of Wisconsin over the Central District of California. As of the 12-month period ending June 30,

2022, the Eastern District of Wisconsin had 1,611 pending lawsuits, whereas the Central District

of California had more than six times that amount (9,882). See Exhibit D (United States Courts

Caseload Statistics Data Tables, Table Number C-1, “U.S. District Courts - Civil Cases Filed,

Terminated, and Pending, by Jurisdiction”), at cell D65 (total number of pending cases in the E.D.

Wisc.) and cell D83 (C.D. Cal.).15 Nor are there any MDL proceedings currently venued in

Wisconsin; transferring the case to the Eastern District of Wisconsin, the home of the First-Filed

Action, thus aligns with the Panel’s “goal of spreading transfers around the country and to districts

and judges who are not overburdened with pending MDL dockets.” Multidistrict Lit. Man. § 6:3.




15
      Accessible    at:     https://www.uscourts.gov/statistics/table/c-1/statistical-tables-federal-
judiciary/2022/06/30 (last visited September 23, 2022).

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Further, Judge Pepper is the Chief Judge of the Eastern District of Wisconsin who is amply

qualified to preside over this MDL, has already presided over the First-Filed Action for nearly a

year, and as discussed below, is far and away the judge most familiar with the factual allegations

and legal arguments involved in these related cases.

       Finally, the Eastern District of Wisconsin is home to the First-Filed Action that is not only

the furthest-advanced related action, but is adjudicating a far more extensive and well-researched

complaint, both of which weigh in favor of selecting this forum as the transferee district. See, e.g.,

In re: L’oreal Wrinkle Cream Mktg. & Sales Pracs. Litig. (“L’oreal”), 908 F. Supp. 2d 1381, 1382

(J.P.M.L. 2012) (selecting as the transferee district the forum “where the first-filed action is

pending” because “the action pending in this district is slightly more procedurally advanced and

contains more extensive allegations regarding defendants conduct than the other actions”)

(emphasis added); see also In re: Bank of Am. Credit Prot. Mktg. & Sales Pracs. Litig., 804 F.

Supp. 2d 1372, 1373 (J.P.M.L. 2011) (selecting the transferee district where the first-filed suit was

initiated because it was the “most procedurally advanced action”); accord In re: Zurn Pex

Plumbing Prod. Liab. Litig., 572 F. Supp. 2d 1380, 1381 (J.P.M.L. 2008) (same); In re Imagitas,

Inc., Drivers’ Priv. Prot. Act Litig., 486 F. Supp. 2d 1371, 1372 (J.P.M.L. 2007) (same).

     Applied here, the First-Filed Action is the only case out of all of the related actions that has

advanced past the filing of a complaint, let alone involved active litigation and judicial

involvement. As explained above, that case (including pre-removal) has been actively litigated for

fifteen months, since June 23, 2021, including but not limited to the following:

     (1)   Defendants’ removal to federal court,
     (2)   the filing of multiple joint motions and stipulations,
     (3)   negotiated briefing schedules,
     (4)   Filing an amended complaint,
     (5)   Defendants filing of two separate motions to dismiss,


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     (6)   First-Filed Plaintiffs’ filing of a brief in opposition to two separate motions to dismiss,
     (7)   Defendants’ filing of a reply brief in support of their two separate motions to dismiss,
     (8)   First-Filed Plaintiffs’ filing of a motion to take notice of publicly available information,
     (9)   Defendants are currently writing their opposition to that motion to take notice of
           publicly available information,
     (10) First-Filed Plaintiffs’ filing of a motion to join additional class representatives,
     (11) the court has scheduled a hearing on defendants’ motions to dismiss, and
     (12) the court’s issuance of seven separate orders.

See supra §I(A); see also Ex. C (First-Filed Action docket). Thus, the Eastern District of Wisconsin

is the most familiar with the facts and legal issues involved in this litigation. Indeed, in all other

related actions, Defendants have not even filed a motion to dismiss, let alone has a motion to

dismiss been fully briefed like it has in the First-Filed Action. Oral argument on the motions to

dismiss is set for November 29, 2022, presumably before the Panel hosts argument on the Motion

to Transfer.16

       Further, the Amended Complaint in the First-Filed Action is far more robust than any other

complaint in any other related action, virtually all of which simply parrot that the Covered Vehicles

are defective because they are not equipped with an immobilizer. See supra n.1; see also Motion

to Transfer at 2 (“The Related Actions involve nearly identical factual allegations that the Covered

Vehicles are defective because they are not equipped with immobilizer technology to deter theft”).

Judge Pepper is also intimately familiar with the First-Filed Plaintiffs’ pleading in the First-Filed

Action because: (a) it is the subject of Defendants’ current motions to dismiss; and (b) apart from

these pending motions, she substantively reviewed it connection with considering whether there

was good cause to redact portions of the Amended Complaint to prevent further proliferation of

this auto theft crisis given the media attention the case has garnered. As Judge Pepper’s May 31,


16
   The JPML’s website indicates that the next hearing date at which this instant motion will
presumably be taken up is set for December 1, 2022 in New York.

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2022 Order explains:

        Having reviewed the 168-page amended complaint and the proposed redactions,
        the court is satisfied that the parties have made sufficient effort to narrowly
        tailor the redactions to prevent the disclosure of the design defect that allegedly
        makes it easy to steal the Kia and Hyundai cars. While some of this information
        could be discovered through an internet search, not all of it appears to be publicly
        available or consolidated into a single document. The court finds that the parties
        have established good cause for restricting the amended complaint and for filing a
        redacted version of the same.

Exhibit E at 5-6 (Marvin Action ECF No. 34, Judge Pepper’s Order granting, inter alia, First-Filed

Plaintiffs’ motion to restrict amended complaint) (emphasis added). These considerations likewise

point to the Eastern District of Wisconsin as the most suitable transferee district. See L’oreal,

supra; see also In re Trade Partners, Inc., Invs. Litig., 493 F. Supp. 2d 1381, 1382 (J.P.M.L. 2007)

(transferring all cases to the district where the “action has been pending far longer than the actions

pending elsewhere” such that the presiding judge “has become familiar with the issues in the

litigation”).

        B.      McNerney Plaintiffs’ Remaining Arguments are Unavailing

        The McNerney Plaintiffs contend that the case should nonetheless be transferred to the

Central District of California because: (a) more actions have been filed there; and (b) First-Filed

Action is “uniquely focused on Wisconsin law.” Motion to Transfer at 4. Neither contention

supports their argument or transfer to the Central District of California.

        On the first contention, although there are currently seven lawsuits (other than the Henry

Action) pending in the Central District of California, each was filed within the last forty-five

days—notably, after the redacted version of the Amended Complaint in the First-Filed Action was

made publicly available—such that transferring them elsewhere will not be “unduly disruptive.”

Id. (citing In re BP p.l.c. Sec. Litig., F. Supp. 2d 1376, 1379 (J.P.M.L. 2010). Further, the balance

of the related actions (and more than double the number of cases pending in California) has a closer



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nexus to the Eastern District of Wisconsin, both in terms of proximity and because this auto theft

epidemic brought on by the Kia TikTok Challenge finds its genesis in Milwaukee. See Multidistrict

Lit. Man. § 6:8 (“In considering the venue of pending actions, actions in districts nearby a potential

transferee district may be considered by the Panel.”); see also In re Wayne Farms LLC Fair Lab.

Standards Act Litig., 528 F. Supp. 2d 1355, 1356 (J.P.M.L. 2007) (considering this factor); In re:

Monsanto Co. Genetically-Engineered Wheat Litig., 978 F. Supp. 2d 1373 (J.P.M.L. 2013) (same).

        As for their second contention regarding the ostensibly unique nature of the First-Filed

Action, McNerney Plaintiffs are incorrect. Even a cursory review of the Amended Complaint in

that case reveals that the First-Filed Plaintiffs have asserted common claims—uniformly alleged

in all related actions—for breach of express warranty; breach of implied warranty; violation of the

Magnuson-Moss Warranty Act; and unjust enrichment. Of course, the First-Filed Plaintiffs also

alleged Wisconsin-specific statutory claims, just as every other related action did depending on

the state in which a given named plaintiff purchased his or her vehicle.

        The point remains, however, that the common factual and legal issues in the First Filed

Action are the same. The only thing “unique” about the First-Filed Action is the scope and detail

of the First-Filed Plaintiffs’ pleading, aspects of which remain under seal and thus were not copied

by scores of other related actions filed a year later (verbatim, in some instances). Defendants’

motions to dismiss have been fully briefed for months and oral argument is set for November 29,

2022. Efficiencies will be gained, and the MDL as a whole will benefit from a ruling on these

motions in the First-Filed Action, which will avoid duplicative motion practice and potential

inconsistent rulings in other fora. Thus, the posture of the First-Filed Action and the breadth of the

First-Filed Plaintiffs’ pleadings in that case underscore why the Eastern District of Wisconsin is

the most suitable transferee district.




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IV.    CONCLUSION

       For all of the foregoing reasons, First-Filed Plaintiffs and Henry Plaintiffs respectfully

request that the panel select the Eastern District of Wisconsin as the transferee forum for the

consolidation of all related actions listed in the Schedule of Actions. Alternatively, the First-Filed

Plaintiffs and Henry Plaintiffs request that the related actions be transferred to the Central District

of California given the location of Kia and Hyundai’s respective corporate headquarters.


Dated: September 23, 2022                      Respectfully submitted,
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                          Plaintiffs and the putative class in Henry et al v. Kia
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